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 U.S. DISTRICT COURT
 WESTERN DISTRICT OF
 PENNSYLVANIA_____________
                                                   DOCKET NO. 2:20-cv-1964
 N.W.
                                                   CIVIL
                       Plaintiff,
                                                   NOTICE OF REMOVAL AND NOTICE OF
                                                   MOTION
                 -against-
                                                   (1) REMAND FROM STATE COURT TO
 UNIVERSITY OF PITTSBURGH                          U.S. DISTRICT COURT and (2) AMEND
                                                   COMPLAINT.
                        Defendant.

PLEASE TAKE NOTICE, upon the Memorandum of Law in Support attached, Letter to Judge,
Complaint, and all other filed documents, that the undersigned urgently move this Court
(remotely either via tele-conference or video-conference), at the Courthouse, U.S. District Court,
700 Grant Street, Suite 3110, U.S. Post Office & Courthouse, Pittsburgh, PA 15219, on the 17th
day of December 2020 at 11:00 am or as soon thereafter, to Remand Complaint from State Court
to U.S. District Court in order for an Order to Show Cause in an EMERGENCY
PRELIMINARY INJUNCTIVE RELIEF HEARING to overturn or even pause pending further
hearings the adverse action taken by the Defendant against the Plaintiff on December 8, 2020
(December 10, 2020 notified via email). The IRREPARABLE HARM from the adverse action is
real and does not cause any significant harm to the Defendant while a final decision pends. The
Plaintiff also move the Court to amend the Complaint as well as exercise its judicial authority to
provide any other reliefs that are just and reasonable.

Dated: Allegheny, Pennsylvania
December 17, 2020                                            BY: N.W. , Pro Se
                                                                  /S/
                                                              Nicholas Weir
                                                              4503 Stanton Ave
                                                              Pittsburgh, PA 15201
                                                              nw0354271@gmail.com
CC:
Mariah Passarelli
One Oxford Centre,
301 Grant Street 41st Floor
Pittsburgh, PA 15219
Email: MPassarelli@cozen.com
Attorney for Defendant University of Pittsburgh

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Lee M. Vapniarek, Esq.
Judicial Law Clerk, Hon. Philip A. Ignelzi
Room 820 City-County Building
414 Grant Street,
Pittsburgh, PA 15219




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